     Case 2:13-cr-00029-APG-GWF           Document 24       Filed 02/12/13     Page 1 of 3




 1    ODANIEL G. BOGDEN
      United States Attorney
 2    AMBER M. CRAIG
      Assistant United States Attorney
 3    333 Las Vegas Blvd. South
      Suite 5000
 4    Las Vegas, Nevada 89101
      (702) 388-6336
 5
                       UNITED STATES DISTRICT COURT
 6
                            DISTRICT OF NEVADA
 7
                                    -oOo-
 8
      UNITED STATES OF AMERICA,           )
 9                                        )           2:13-cr-029-JCM-GWF
                        Plaintiff,        )
10                                        )
            vs.                           )          MOTION TO CONTINUE
11                                        )          GOVERNMENT’S DEADLINE TO
      DAVID ALLEN GARRETSON,              )          RESPOND TO DEFENDANT’S MOTION
12                                        )          TO REOPEN DETENTION HEARING
                        Defendant.        )
13    ____________________________________)

14            The United States of America, by and through DANIEL G. BOGDEN, United States

15    Attorney, and AMBER M. CRAIG, Assistant United States Attorney, respectfully move this Court

16    to allow the Government to file its response to Defendant David Allen Garretson’s Motion to

17    Reopen Detention Hearing by February 19, 2013.1

18            This motion is entered into based on the following:

19            1.      Government counsel began trial in U.S. v. Richard Carl Brown, 2:12-cr-097-RCJ-

20    VCF on Monday, February 11, 2013, the same day Defendant filed his motion. Counsel spoke to

21    one another regarding defense counsel’s plan to file the motion during the week of January 28,

22    2013. At that time, Government counsel indicated that she would be in trial starting February 11,

23    2013. Over a week after that discussion, defense counsel filed the motion on the day Government

24    counsel commenced trial. The Government anticipates that the trial will end on February 14 or

25    15, 2013, at which point counsel will have adequate time to respond to the motion.

26
       1
              February 18, 2013, is a national holiday and the Court will be closed.
     Case 2:13-cr-00029-APG-GWF            Document 24       Filed 02/12/13      Page 2 of 3




 1            2.      Government counsel contact defense counsel and requested that the parties enter a

 2    joint stipulation to continue the Government's response deadline until after counsel is done with

 3    trial. Defense counsel opposed a continuance of the Government’s response deadline.

 4            3.      The additional time requested herein is excludable in computing the time within

 5    which the trial herein must commence pursuant to the Speedy Trial Act, Title 18, United States

 6    Code, Section 3161(h)(1)(D) and Title 18, United States Code, Section 3161(h)(7)(A), considering

 7    the factors under Title 18, United States Code, Sections 3161(h)(7)(B)(I) and 3161(h)(7)(B)(iv).

 8            4.      This is the Government's first motion to continue its deadline to respond to

 9    Defendant’s Motion to Reopen Detention Hearing.

10                    DATED this 12th day of February , 2013.

11

12                                                   Respectfully Submitted,

13                                                   DANIEL G. BOGDEN
                                                     United States Attorney
14

15
                                                     /s/ Amber M. Craig
16                                                   ________________________________________
                                                     AMBER M. CRAIG
17                                                   Assistant United States Attorney

18

19

20

21

22

23

24

25

26
                                                       2
     Case 2:13-cr-00029-APG-GWF        Document 24       Filed 02/12/13   Page 3 of 3




 1

 2                   UNITED STATES DISTRICT COURT
 3                        DISTRICT OF NEVADA
 4                                -oOo-
 5   UNITED STATES OF AMERICA,           )
                                         )
 6                     Plaintiff,        ) 2:13-cr-029-JCM-GWF
                                         )
 7         vs.                           )
                                         ) ORDER
 8   DAVID ALLEN GARRETSON,              )
                                         )
 9                     Defendant.        )
     ____________________________________)
10
             Based upon good cause showing,
11
             IT IS THEREFORE ORDERED that the Government’s response to Defendant’s Motion
12
                                            20th day of February, 2013.
     to Reopen Detention hearing is due on ______
13
                         12th day of February, 2013.
             DATED this ______
14

15

16

17           GEORGESTATES
             UNITED    FOLEY,DISTRICT
                               JR.       JUDGE
             United States Magistrate Judge
18

19

20

21

22

23

24

25

26
                                                   3
